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                                                                                              UNITED STATES DISTRICT COURT
                                                                                              WESTERN DISTRICT OF MICHIGAN
                                                                                                   SOUTHERN DIVISION
                                                                                                       ____________

                                                          LISA RICHLICH,

                                                                          Plaintiff,                                  CASE NO. 1:16-CV-1262

                                                          v                                                           HON. ROBERT J. JONKER

                                                          SPECTRUM HEALTH SYSTEMS, INC., a Michigan
                                                          Not for Profit Corporation,

                                                                          Defendant.


                                                          H. Rhett Pinsky (P18920)                                  Brian J. Kilbane (P37134)
                                                          PINSKY, SMITH, FAYETTE & KENNEDY, LLP                     Rachael M. Roseman (P78917)
                                                          Attorneys for Plaintiff                                   SMITH HAUGHEY RICE & ROEGGE
                                                          146 Monroe Center St., NW - Suite 805                     Attorneys for Defendant
                                                          Grand Rapids, MI 49503                                    100 Monroe Center NW
                                                          (616) 451-8496                                            Grand Rapids, MI 49503-2802
                                                                                                                    (616) 774-8000


                                                                                                           ORDER

                                                                  The Court having reviewed the Stipulation signed by counsel for the parties, and being otherwise
SMITH HAUGHEY RICE & ROEGGE, A Professional Corporation




                                                          advised in the premises:

                                                                  IT IS HEREBY ORDERED that the Settlement Conference scheduled for Monday, April 23, 2018

                                                          at 1:30 p.m., shall be adjourned and re-scheduled to Monday, October 29, 2018, Tuesday, October 30,

                                                          2018 or to a later date to be determined by the Court.

                                                                  IT IS SO ORDERED.



                                                           Dated: April 10, 2018                                        /s/ Robert J. Jonker
                                                                                                                       ___________________________________
                                                                                                                       Honorable Robert J. Jonker
                                                                                                                       Chief United States District Court Judge




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